Case 2:07-cr-20246-DML-MKM ECF No. 429, PageID.2831 Filed 04/12/13 Page 1 of 3




                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

                        Plaintiff,
                                                              Case Number 07-20246
                                                              Honorable David M. Lawson
 v.

 MANUEL ISAAC BROOKS,

                   Defendant.
 _________________________________________/

             ORDER DENYING MOTION FOR REDUCTION OF SENTENCE

        The matter is before the Court on the defendant’s motion for reduction of sentence. The

 defendant asks the Court to retroactively apply the Fair Sentencing Act’s reduced crack cocaine-to-

 powder cocaine sentencing ratio. The defendant was convicted by a jury of conspiracy to possess

 with intent to distribute and to distribute more than five grams, but less than 50 grams of cocaine

 base; maintaining a drug-involved premises; and possessing a firearm in furtherance of a drug

 trafficking crime. On November 17, 2008, the Court sentenced the defendant to 60 months each on

 the conspiracy and maintaining a drug house convictions, to be served concurrently, and 60 months

 on the gun possession charge to be served consecutively to the other sentences.

        The Fair Sentencing Act, which was signed into law on August 3, 2010, raised the triggering

 amounts of crack cocaine for mandatory minimum sentences. Conforming amendments to the

 United States Sentencing Guidelines became effective initially on November 1, 2010, and “[a]

 permanent version of those Guidelines amendments took effect on November 1, 2011.” Dorsey v.

 United States, --- U.S. ---, 132 S. Ct. 2321, 2329 (2012). The Act raised the triggering amount that

 would apply to the defendant’s offense of conviction from five grams to 28 grams. See Fair
Case 2:07-cr-20246-DML-MKM ECF No. 429, PageID.2832 Filed 04/12/13 Page 2 of 3




 Sentencing Act of 2010, Pub. L. No. 111-220, 124 Stat. 2372 (August 3, 2010); 21 U.S.C. §

 841(b)(1)(B). As the defendant points out in his motion, he was held responsible for 11.412 grams

 of cocaine base. Sentencing Tr. [dkt. #330] at 18. Therefore, if he were sentenced today, the

 defendant would not be subject to the mandatory minimum sentence of 60 months that applied at

 his sentencing.

        However, “[t]he Fair Sentencing Act does not . . . apply retroactively to defendants who were

 sentenced prior to August 3, 2010.” United States v. Stanley, No. 11-4423, 2012 WL 4014932, at

 *2 (6th Cir. Sept. 13, 2012). As the Sixth Circuit explained in Stanley:

        In the case of new statutory penalties, the general savings statute, 1 U.S.C. § 109,
        requires that [federal district courts] apply the penalties in place at the time the
        offender “commits the underlying conduct that makes the offender liable,” unless the
        new penalties expressly or impliedly provide for their retroactive application.
        Dorsey v. United States, --- U.S. ---, 132 S. Ct. 2321, 2331-32 (2012). Although the
        FSA does not contain an express retroactivity statement, the Supreme Court recently
        determined that Congress intended some retroactive application of the FSA. Id. at
        2335. Dorsey held that the FSA’s more lenient mandatory-minimum provisions
        apply to offenders who committed a crack cocaine crime before August 3, 2010, but
        who are sentenced after that date. Id. The decision did not, however, extend the
        benefits of the FSA to offenders who were sentenced prior to August 3, 2010. In
        fact, the Court explained that the normal practice of . . . federal sentencing is “to
        apply new penalties to defendants not yet sentenced, while withholding that change
        from defendants already sentenced.” Id.

 Stanley, 2012 WL 4014932, at *3. Brooks was sentenced on November 17, 2008; therefore, the

 FSA does not apply to him. Id. at *2.

        The defendant also argues that he is entitled to resentencing because the evidence was

 insufficient to support the jury’s verdict on the conspiracy and gun possession charges. The

 petitioner raised these same claims in his direct appeal challenging his conviction and sentence. The

 Sixth Circuit denied that appeal, finding that the arguments lacked merit [dkt. #354]. This Court is

 bound by the ruling of the court of appeals.

                                                 -2-
Case 2:07-cr-20246-DML-MKM ECF No. 429, PageID.2833 Filed 04/12/13 Page 3 of 3




       Accordingly, it is ORDERED that the defendant’s motion for reduction of sentence [dkt.

 #427] is DENIED.

                                                       s/David M. Lawson
                                                       DAVID M. LAWSON
                                                       United States District Judge

 Dated: April 12, 2013

                                                 PROOF OF SERVICE

                         The undersigned certifies that a copy of the foregoing order was served
                         upon each attorney or party of record herein by electronic means or first
                         class U.S. mail on April 12, 2013.

                                                           s/Deborah R. Tofil
                                                           DEBORAH R. TOFIL




                                                           -3-
